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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                             :   Crim. No. 09-878 (DRD)

                v.                                   :   CONTINUANCE ORDER

ABDUL WILLIAMS, et al.

        This matter having been opened to the Court by defendant CLIFFORD J. MINOR (Thomas

R. Ashley, Esq., and Stephen Turano, Esq., appearing), and Paul 3. Fishman, United States

Attorney for the District of New Jersey (Anthony J. Mahajan, Assistant U.S. Attorney, appearing)

for an order granting a continuance of the proceedings in the above-captioned matter, and the

defendants being aware that they have the right to have the matter tried within seventy days of the

filing date of the Indictment, pursuant to Title 18 of the United States Code, Section 3161(c), and

the defendants having waived such right, and for good and sufficient cause shown,

        IT IS THE FINDING OF THIS COURT that this action should be continued for the

following reasons:

        1. Plea negotiations are in progress. The successful completion of such negotiations may

render trial of this matter unnecessary.

        2. Defendants have consented to the aforementioned continuance.

        3. Pursuant to Title 18 of the United States Code, Section 3161(h)(8), the ends ofjustice

served by granting the continuance outweigh the best interests of the public and the defendants in a

speedy trial.

        WHEREFORE, it is on this           /    dayof         --             2011,

        ORDERED that the proceedings in the above-captioned matter are continued from

February 2, 2011, through April 2, 2011;

        IT IS FURTHER ORDERED that the period between February 2, 2011, through April 2,
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2011, shall be excludable in computing time under the Speedy Trial Act of 1974;

        IT IS FURTHER ORDERED that if the defendants intend to file motions, they shall be
                                      /   /          4-1/
filed no laterthan           / ///            I




       IT IS FURTHER ORDERED that any opposition by the United States to defendants’
                                                         /1
                                                   //
motions shall be filed no later than              //,‘t///       /

       IT IS FURTHER ORDERED that the hearing as to any such motions shall be held on
            //           /        !j
           //7//         ‘7, 2/   -
                                   j.,and

       IT IS FURTHER ORDERED that the trial in this matter will commence on
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                                                                  L

                                                       HONORABLE DICKINSON R. DEBEVOISE
                                                       United States District Judge

Requested and Agreed to by:




Tlimas R. Ashley, Esq.
Stephen Turano, Esq.
Attorneys for Defendant Clifford J. Minor



Anthony 3. Mahajan, AUSA




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